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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMERICAN FOREIGN SERVICE
 ASSOCIATION, et al.,

        Plaintiffs,

 v.                                                      Civil Action No. 1:25-cv-00352-CJN

 PRESIDENT DONALD TRUMP, et al.,

        Defendants.



                           NOTICE OF FILING DECLARATION

       At a hearing on February 19, 2025, the Court ordered Defendants to submit a supplemental

declaration clarifying the choice a direct hire employee of U.S. Agency for International

Development who is stationed abroad would face if the temporary restraining order were lifted

and employees reverted to being on administrative leave. Defendants respectfully submit the

attached declaration of Peter Marocco in response to the Court’s directive. Defendants have made

best efforts to accurately depict the Government’s policy for this rapidly evolving matter, and to

explain what was intended by past declarations.




Dated: February 20, 2025                              Respectfully submitted,
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                                                      Principal Deputy Assistant Attorney General
                                                      Civil Division

                                                      ERIC J. HAMILTON
                                                      Deputy Assistant Attorney General
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                                   ALEXANDER K. HAAS
                                   Director
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                                   Deputy Director
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                                   /s/ Christopher D. Edelman
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